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    Approved:   ~CcNzL~!<..D
                Assistant United States Attorney
                                                                         DOv ' '"'-
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                                                                                         (,--,- - -
    Before:     THE HONORABLE DEBRA FREEMAN
                United States Magistrate Judge
                Southern District of New York
                           -   -   -   -   -   -   -   -   -   X    21 MAG 11398
                                                                   SEALED COMPLAINT
     UNITED STATES OF AMERICA
                                                                   Violations of
              - v. -                                               18 u.s.c . §§ 371, 641,
                                                                   1028A(a) (1), and 2.
     QUASHON BURTON,
                                                                   COUNTY OF OFFENSE :
                               Defendant.                          BRONX AND NEW YORK



    SOUTHERN DISTRICT OF NEW YORK, ss.:

              JEFF ANDRE, being duly sworn, deposes and says that he
    is a Postal Inspector with the United States Postal Inspection
    Service (USPIS) , and charges as follows:

                                      COUNT ONE
                       (Conspiracy to Steal Government Funds)

         1.   From at least in or about June 2020 up to and
    including in o r about May 2021 , in the Southern District of New
    York and elsewhere, QUASHON BURTON, the defendant, and others
    known and unknown, willfully and knowingly did combine,
    conspire, confederate, and agree together and with each other,
    to commit an offense again the United States, to wit, theft of
    government funds, in violation of Title 18, United States Code ,
    Section 641.

         2.   It was part and object of the conspiracy that QUASHON
    BURTON, the defendant, and others known and unknown did
    embezzle, steal, purloin, and knowingly convert to their use and
    the use of others , vouchers , money, and things of value of the
    United States and a department and agency thereof, to wit , the
    Payment Protection Program ("PPP") of the Small Business
-   Administration ("SBA" ), which exceeded the sum of $1,000, and
    did receive, conceal, and retain the same with intent to convert
    it to his use and gain, knowing it to have been embezzled,
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stolen, purloined and converted, in violation of Title 18,
United States Code, Section 641 .

                               Overt Acts

     3.     In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere :

          a.   On or about July 26 , 2020, QUASHON BURTON, the
defendant, accessed a particular bank account ("Bank Account-1" )
at an ATM in the Bronx , New York .

           b.  On or about July 27, 2020, BURTON attempted to
purchase six postal money orders at a postal facility in New
York, using two Chime bank cards ("Victim Bank Card-1" and
"Victim Bank Card- 2") in the names of two victims of identity
theft both of which cards received roceeds of fraudulent SBA
PPP loans.

        (Title 18 , United States Code, Section 371 and 2. )

                              COUNT TWO
                     (Theft of Government Funds)

     4.   In or about July 2020,   in the Southern District of
New York and elsewhere, QUASHON BURTON, the defendant , did
embezzle, steal, purloin, and knowingly convert to his use and
the use of others , vouchers, money, and things of value of the
United States and a department and agency thereof, to wit, the
Payment Protection Program ("PPP") of the Small Business
Administration ("SBA"), which exceeded the sum of $1,000, and
did receive , conceal, and retain the same with intent to convert
it to his use and gain, knowing it to have been embezzled,
stolen, purloined and converted.

          (Title 18, United States Code, Sections 641 and 2. )

                             COUNT THREE
                     (Aggravated Identity Theft)

     5.   From at least in or about July 2020, up to and
including in or about August 2020 , in the Southern District of
New York and elsewhere , QUASHON BURTON, the defendant, knowingly
did transfer, possess, and use, without lawful authority, a
means of identification of another person, during and in
relation to a felony violation enumerated in Title 18, United
States Code , Section 1028A(c), to wit , BURTON used the names and
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dates of birth of other persons to steal government funds
through his fraudulent application for and receipt of SBA PPP
loan benefits , as charged in Counts One and Two of this
Complaint .

 (Title 18 , United States Code , Sections 1028A (a ) (1 ) , 1028A (b ) ,
                             and 2. )

          The bases for my knowledge and for the foregoing
charges are , in part , as follows :

      6.   I am a Postal Inspector with USPIS, and I ha v e been
personally involved in the investigation of this matter.     This
affidavit is based on , among other things , my conversations with
law enforcement of f icers and others, my examination of reports
and records prepared by law enforcement officers and others, and
my involvement in this investigation . Because this affidavit is
being submitted for the limited purpose of establishing probable
cause , it does not include all the facts that I have learned
during the course of my investigation. Where the contents of
documents and the actions , statements , and conversations of
others are reported herein , they are reported in substance and
in part , except where otherwise indicated.

     7.   Based on my participation in this investigation , I
have learned that QUASHON BURTON , the defendant, has engaged in
a scheme to obtain approximately $149,800 in SBA PPP loan
proceeds by fraudulently filing for benefits using the names ,
dates of birth , and social security numbers of at least four
other people .

                        COVID- 19 SBA PPP Loans

     8.    The Coronavirus Aid, Relief , and Economic Security
Act ("CARES Act") provided for the authorization of billions of
dollars in forgivable loans to small businesses for payroll,
mortgagee interest , rent/lease , and utilities through PPP.   In
order to obtain a PPP loan , a qualifying business was required
to submit a PPP loan application . The application required
applicant businesses to state, among other things, their average
monthly payroll and number of employees . These figures were
then used to calculate the amount of money each business was
entitled to under the PPP .

     9~   The CARES Act also gave states the option to extend
unemployment compensation to workers who are traditionally
ineligible for UI benefits and provided additional
administrative funding to allow states to respond to the needs

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of workers during the pandemic.  The UI programs are
administered through state Departments of State and, in most
instances, claimants are permitted to file for benefits through
an online portal .

                            The Bank Cards

     10.  Based on my review of bank records obtained from a
national financial institution ("Bank- 1"), I have learned, among
other things , the following:

          a.   Victim- 1 Bank Card was registered to an
individual ("Victim-1" ) at a particular address in East Orange,
New Jersey (the "East Orange Address") and with a particular
date of birth in 1981 (" Victim-1 Birth Date") .

           b.   Victim-2 Bank Card was registered to an
individual ("Victim- 2") with a particular date of birth in 1969
 " Victim-2 Birth Date" . The Victim- 2 Bank Card was regi_;;tered~ - - - - - -
to the East Orange Address and with a particular telephone
number ending in 4515 (the "4515 Number " )

                            Bank Account-1

     11. Based on my review of bank records obtained from a
national financial institution ("Bank - 2") , I have learned, among
other things, the following:

            a.   On or about June 30 , 2020 , a bank account ("Bank
Account - 1") was opened online through Bank-2 in the name of a
particular individual (" Victim- 3").

          b.   Bank Account-1 is associated with the East Orange
Address and the phone number associated with Bank Account -1 is a
particular phone number ending in 3196 (the "Burton Number").

                   The SBA PPP Loan Applications

      12.   Based on my review of bank records obtained from
Banks - 1 and -2, as well as records obtained from SBA, the Texas
Secretary of State, and the Bexar County clerk in Bexar, Texas,
I have learned, among other things, the following:

           a.   On or about July 17, 2020 , an SBA PPP Loan
applicat-ion ("Loan Application-1") was submitted in the name of
an individual (" Victim- 4" ) with the same name as Victim-1 but
with a birthdate different than the Victim-1 Birth Date . Loan
Application- 1 listed a particular email address ("Email Address -

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1") and purported to have been submitted on behalf of a daycare
facility based in San Antonio , Texas (the "Daycare Facility" ) .
Loan Application - 1 also listed the 4515 Number, that is, the
phone number registered to Victim Bank Card- 2 .

            b.   On or about July 17 , 2020, an SBA PPP Loan
application ("Loan Application - 2 " ) was submitted in the name of
an individual ("Victim- 5 " ) with the same name as Victim-2 but a
different birth date than the Victim-2 Birth Date . Loan
Application - 2 listed a particular phone number ending in 3749
(the "3749 Number " ) and purported to have been submitted on
behalf of a flooring company in San Antonio , Texas (the
"Flooring Company " ). Loan Application- 2 was submitted from a
particular IP address ending in .241.2 (the ".241.2 IP
Address") .

          c.   There are no businesses registered in the state
of Texas in the names of Victim-1 , - 2 , - 4, or - 5.

                               The IP Address

     13 . Based on my review of records provided by a particular
internet service provider as well as a particular hotel on 7 th
Avenue in Miami , Florida (the "Miami Hotel") , I have learned,
among other things , the following:

             a.     The .241.2 IP Address is registered to the Miami
Hotel.

          b.     The . 241 . 2 IP Address accessed the Victim- 1 Bank
Card account at least seven times in July and August 2020,
including on or about July 17, 2020 (the date that Loan
Application - 1 was submitted) .

          c.    The . 241 . 2 IP Address accessed the Victim- 2 Bank
Card account at least- three times in July and August 2020,
including on or about July 17 , 2020 (the date that Loan
Application- 2 was submitted).

          d.    From on or about August 25, 2020 through on or
about August 27 , 2020, and again from on or about August 28,
2020 through on or about August 31 , 2020, QUASHON BURTON, the
defendant, was a registered guest at the Miami Hotel.




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                                      The PPP Loan Proceeds

                14 .  Based on my rev i ew of records from the SBA , the
           Victim- 1 and - 2 Bank Cards , Bank Account-2 , and the U. S . Postal
           Service , I know , among other things, the following :

                       a.   On or about July 20, 2020, the SBA deposited
           $79 , 900 onto the Victim- 1 Bank Card pursuant to Loan
           Application - 1.

                       b.   On or about July 20 , 2020, the SBA deposited
           $69 , 900 onto the Victim- 2 Bank Card pursuant to Loan Applcation -
           2.

                          c.   On or about July 26 , 2020 , ATM surveillance video
          captured an image (the " ATM Image") of an individual accessing
          Bank Account-1 . I have compared the ATM Image with arrest
--- - - -~ h=o~ t=o= graphs of OUASHON BURTON, the defendant, and I have~ - - - - - - - - - - - !
          concluded that they depict the same individual .

                     d.   On or about July 27 , 2020, a total $10 , 000 was
           transferred from the Victim- 1 and - 2 Bank Cards 1 to Bank Account -
           1.

                      e.    On or about July 27 , 2020, BURTON attempted to
           use the Victim- 1 and - 2 Bank Cards to purchase six U.S . postal
           money orders total i ng $6 , 004 . 50 from a postal facility in New
           York , New York . At the time of the attempted purchase , Postal
           Inspectors conf r onted BURTON who identified himself as "Quashon
           Burton ." Postal Inspectors confiscated the Victim- 2 Bank Card.

                                         The Casino Arrest

                 15 .  Based on my review of records and surveillance images
            obtained from a particular casino in Mt . Pocono , Pennsylvania
            (the "Mt . Pocono Casino " ) and Pennsylvania State Police, I know,
            among other things , the following :

                       a.   On or about August 4 , 2020 , QUASHON BURTON , the
            defendant , was arrested at the Mt . Pocono Casino.   At the time
            of his arrest , BURTON identified himself as Victim- 1.   BURTON
            also stated that his phone number was the Burton Number, 2 that
            is , the phone number associated with Bank Account - 1 .

            1   $5 , 000 was transferred from each card .
            2According to law enforcement databases , the Burton Number is
            associated with QUASHON BURTON , the defendant.
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                           b.    At the time of his arrest, BURTON presented a
                 fake New Jersey driver ' s license bearing his picture and the
                 name of Vict ims-1 and 4 . He was also in possession of the
                 Victim-1 Bank Card .

                                                  The Phone and Email Records

                      16 . Based on my review of phone records provided by the
                 provider for the Burton Number I know, among other things, that
                 on or about July 17 , 2020 (the day Loan Applications - 1 and - 2
                 were submitted) , the Burton Number - the phone number belonging
                 to QUASHON BURTON , the defendant - was in contact with the phone
                 numbers associated with both Loan Application - 1 (the 4515
                 Number) and Loan Application-2 (the 3749 Number).

                   17 . On or about June 4 , 2021, the Honorable Sarah L . Cave ,
           United States Magistrate Judge, Southern District of New York ,
- - - - - -=U-t.ho :r;:_i_z ed-a- wa-r -.i:;:.an-t-aJ:"1-d-0-r-cte-r::- f-0-:i:;-_ J-i iS-t-O-r-i-ea 1- 1-ocs.-t-i o 1--- - - - - - - - - - - - - 1
           information for the Burton Number (the "Cellsite Warrant").
           Based on my review of the returns from the Cellsite Warrant, I
           know, among other things:

                            a.    On or about July 17, 2020 - the day Loan
                 Applications - 1 and - 2 were submitted - the user of the Burton
                 Number was in Miami , Florida, in the vicinity of the Miami Hotel.

                            b.   On or about July 26, 2020 - the day BURTON
                  accessed Bank Account - 1 was accessed in the Bronx, New York
                  the Burton Numbe r was in the Bronx, New York in the vicinity of
                  the ATM .

                            c.   On or about July 27 , 2020 - the day BURTON
                  purchased the money orders - the Burton Number was in New York ,
                  New York in the vicinity - of the postal facility .

                       18 . Based on my review of the Cellsite Warrant returns as
                  described above, I believe that QUASHON BURTON , the defendant,
                  is the owner of the Burton Number and that BURTON was (i) in the
                  vicinity of the Miami Hotel on or about July 1 7, 2020 ; (ii)
                  accessed Bank Account-1 on or about July 26 , 2020 ; and (iii)
                  purchased postal money orders in New York , New York, on or about
                  July 27 , 2020 .




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                    19.  Based on my review of records provided by the provider
               for Email Address - 1 , I know , among other things , the following:

                         a.       Email Address - 1 - which appears on Loan
               Application - 1 - i s subscribed to a user whose name is a slight
               misspelling of Victims - 1 and - 4 ' s name . Based on my training
               and experience , I know that slight misspellings are common in
               email accounts established to appear legitimate while
               perpetrating fraud .

                              b.      Email Address - 1 is registered to the 4515 Number.

                                     Additional Applications for Benefits

                     20.   On or about May 17 , 2021, the Honorable Robert W.
            Lehrburger , United States Magistrate Judge , Southern District of
            New York , signed an order pursuant to 18 U. S . C . § 2703(d) for
            non - content information including header information for the
1--- - - - -0-Ub-3-e c t-Acc0-ur:i.-t _ µ l.:J.e~ 2-'"Z 0-3-~d )-Orde r ~l----Ba S-ed- 0-n- my- r-e-v i-ew- 0-f_ _ _ _ __
            the information provided pursuant to the 2703(d) Order , I know ,
            among other things , that between July 2020 and May 2021 , the
            Email Address - 1 received emails from :

                          a . At least four Departments of State including the
                              offices for New York, Alaska, Arizona , and Indiana .

                          b . At least eight financial institutions .

                           c . At least one cryptocurrency exchange .

                    21 . Based on my review of records obtained from Bank- 2, I
               know that, on or about August 20 , 2020 , Bank Account - 1 received
               a $10,506 deposit from the Arizona State Department pursuant to
               an unemployment insurance claim that was submitted from an IP
               address that traces back to another individual ("CC - 1") . 3

                      22 . Based on my conversations with law enforcement
               officers in Murphy , Texas , I know that on or about August 28,
               2020 , CC - 1 was arrested in possession of , among other things,
               debit cards in the names of individuals other than CC-1 and bulk
               cash .




               3 On or about August 24 , 2020 , Bank-2 closed Bank Account - 1 on
               suspicion of fraud .
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                              The Victims

     23.   Based on my review of Department of Motor Vehicle
("OMV" ) records , I know , among other things , the following:

          a.   Victim- 1 was born on a particular date in 1981
and resides in New York .

          b.   Victim- 2 was born on a particular date in 1969
and resides in California.

          c.   Victim- 3 was born on a particular date in 1981
and resides in California .

           d.   Victim- 4 has the same first and last names as
Victim- 1, was born on a particular date in 1969, and resides in
Texas.

           e.   Victim- 5 has the same first and last names as
Victim- 2, was born on a particular date in 1951 , and resides in
Texas.


          WHEREFORE , I respectfully request that a warrant be
issued for the arrest of QUASHON BURTON, the defendant, and that
he be arrested , and imprisoned or bailed , as the case may be .




                          s/Jeff Andre , by the Court , with permission
                            J EFF ANDRE
                            Postal Inspector
                            United States Postal Inspection Service




Sworn to me through the transmission of
this Complaint by reliable electronic
means , this 29th day of November, 2021 .
                                            (telephone)

THE HONORABLE DEBRA FREEMAN
United States Magistrate Judge
Southern District of New York


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